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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

H-D U.S.A., LLC                                    )
                                                   )   Case No. 17-cv-00339
                        Plaintiff,                 )
                                                   )   Judge John J. Tharp, Jr.
       v.                                          )
                                                   )
ZHANG YING, et al.,                                )   Magistrate Judge Jeffrey T. Gilbert
                                                   )
                        Defendants.                )

     FINAL JUDGMENT ORDER AGAINST THE DEFENDANTS IDENTIFIED IN
      SCHEDULE A, WITH THE EXCEPTION OF DEFENDANT GOTORACING

       This action having been commenced by Plaintiff H-D U.S.A., LLC (“Harley-Davidson”)

against the defendants identified on Schedule A, and using the Defendant Domain Names and

Online Marketplace Accounts (collectively, the “Defendant Internet Stores”), and Harley-

Davidson having moved for entry of Default and Default Judgment against the defendants

identified on Schedule A attached hereto, with the exception of Defendant gotoracing,

(collectively, the “Defaulting Defendants”);

       This Court having entered upon a showing by Harley-Davidson, a temporary restraining

order and preliminary injunction against Defaulting Defendants which included a domain name

transfer order and asset restraining order;

       Harley-Davidson having properly completed service of process on Defaulting

Defendants, the combination of providing notice via electronic publication or e-mail, along with

any notice that Defaulting Defendants received from domain name registrars and payment

processors, being notice reasonably calculated under all circumstances to apprise Defaulting

Defendants of the pendency of the action and affording them the opportunity to answer and

present their objections; and

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       Defaulting Defendants having failed to answer the Amended Complaint or otherwise

plead, and the time for answering the Amended Complaint having expired;

       THIS COURT HEREBY FINDS, in the absence of timely objection, that it has personal

jurisdiction over Defaulting Defendants since Defaulting Defendants directly target their

business activities toward consumers in the United States, including Illinois. Specifically,

Defaulting Defendants are reaching out to do business with Illinois residents by operating one or

more commercial, interactive Defendant Internet Stores through which Illinois residents can

purchase products using counterfeit versions of Harley-Davidson’s federally-registered

trademarks (collectively, the “HARLEY-DAVIDSON Trademarks”), which are defined as

follows:

REGISTRATION           REGISTERED                  REGISTRATION             INTERNATIONAL
  NUMBER               TRADEMARK                      DATE                      CLASSES
  0,507,163         HARLEY-DAVIDSON                Mar. 01, 1949   For: Motorcycle shirts; sweaters;
                                                                   breeches; neckties; coveralls; rain
                                                                   coats and hats; jackets; helmets;
                                                                   caps; and boots in class 025

  0,508,160         HARLEY-DAVIDSON                Apr. 05, 1949   For: Electric lamps and spare parts
                                                                   for same; spark plugs; and electric
                                                                   signs in classes 007, 009, 011, 012,
                                                                   and 015

  0,526,750                                        Jun. 27, 1950   For: Motorcycles and structural
                                                                   parts thereof; accessories-namely,
                                                                   intermediate stands, seats, foot rests
                                                                   and extensions, windshields, fender
                                                                   tips, exhaust stacks, grips, name
                                                                   plates, saddle covers, luggage
                                                                   carriers, license frames, foot pedal
                                                                   pads, tandem seats, foot rests, and
                                                                   rear view mirrors in classes 007,
                                                                   012, 022, and 027




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1,078,871     HARLEY-DAVIDSON             Dec. 06, 1977   For: Vehicles-namely, motorcycles
                                                          in class 012


1,205,380                                 Aug. 17, 1982   For: Motorcycles in class 012

                                                          For: Clothing-Namely, T-Shirts in
                                                          class 025




1,219,955     HARLEY-DAVIDSON             Dec. 14, 1982   For: Parts and service manuals for
                                                          motorcycles, parts catalogs for
                                                          motorcycles, newsletters and
                                                          magazines dealing with
                                                          motorcycles, calendars, posters,
                                                          and decals in class 016

1,224,868                                 Jan. 25, 1983   For: Decorative Items for
                                                          Motorcycles-Namely, Medallions
                                                          in class 006

                                                          For: Fitted Motorcycle Covers in
                                                          class 012

                                                          For: Key Ring Fobs in class 014

                                                          For: General Purpose Decals;
                                                          Decorative Items for Motorcycles-
                                                          Namely, Decals, and Metallic Foil
                                                          Decals in class 016

                                                          For: Drinking Cups and Mugs in
                                                          class 021

                                                          For: Clothing-Namely, Jackets, T-
                                                          Shirts, Tank Tops, Sweat Shirts,
                                                          Bandannas, Hats, Caps, and Boots
                                                          in class 025

                                                          For: Stick, Lapel, and Hat Pins, All
                                                          of Nonprecious Metals, and

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                                                          Decorative Cloth Patches in class
                                                          026

                                                          For: Cigarette Lighters in class 034

1,234,404     HARLEY-DAVIDSON             Apr. 12, 1983   For: Sunglasses and Protective
                                                          Helmets for Motorcyclists in class
                                                          009

                                                          For: Clothing-Namely, Jackets,
                                                          Pants, Shirts, T-Shirts, Vests,
                                                          Jeans, Riding Suits, Bandannas,
                                                          Rain Suits, Shorts, Nightgowns,
                                                          Halters, Underwear, Tank Tops,
                                                          Sweatshirts, Night Shirts, Socks,
                                                          Gloves, Hats, Caps and Boots in
                                                          class 025

1,263,936                                 Jan. 17, 1984   For: First Aid Kits Containing
                                                          General Purpose First Aid Supplies
                                                          Such as Bandages, Bandage
                                                          Compressors, Ammonia Inhalant,
                                                          Tourniquets, Anti-Bacterial
                                                          Solutions, Burn Emollient, and
                                                          Picric Acid Gauze in class 005

                                                          For: Medallions and non-luminous
                                                          non-mechanical signs made
                                                          primarily of metal and plastic in
                                                          class 006

                                                          For: Sunglasses, battery chargers,
                                                          protective motorcycle crash
                                                          helmets and luminous signs in class
                                                          009

                                                          For: Electric lamps in class 011

                                                          For: mud flaps, fuel door plates, air
                                                          cleaners, radio caddies, motorcycle
                                                          tank and fender sets, leather
                                                          motorcycle bags and motorcycles
                                                          in class 012


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                                                          For: Jewelry-Namely, Necklaces,
                                                          Rings, and Key Fobs in class 014

                                                          For: Posters, paper decals and
                                                          playing cards in class 016

                                                          For: Wallets in class 018

                                                          For: Decorative Wall Plaques and
                                                          Mirrors in class 020

                                                          For: Mugs and Insulated Drinking
                                                          Steins in class 021

                                                          For: Towels in class 024

                                                          For: Clothing-Namely, T-Shirts,
                                                          Jackets, Blue Jeans, Sweat Shirts,
                                                          Underwear, Bandanas, Headwear,
                                                          Socks, Boots, Cycle Riding Suits,
                                                          Belts and Suspenders in class 025

                                                          For: Embroidered patches, belt
                                                          buckles and lapel, hat and stick
                                                          pins all of non-precious metals in
                                                          class 026

                                                          For: Cigarette lighters in class 034

1,311,457     HARLEY-DAVIDSON             Dec. 25, 1984   For: Repair and Servicing of
                                                          Motorcycles in class 037

                                                          For: Retail store services in the
                                                          field of motorcycles in class 042

1,352,679           HARLEY                Aug. 06, 1985   For: Motorcycles in class 012


1,406,876           HARLEY                Aug. 26, 1986   For: Clothing; namely--tee shirts
                                                          for men, women and children; knit
                                                          tops for women and girls; and
                                                          children's shirts in class 025

1,450,348     HARLEY-DAVIDSON             Aug. 04, 1987   For: metal articles, namely, key
                                                          fobs, key chains and license plate


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                                                      holders in class 006

                                                      For: Knife sheaths in class 008

                                                      For: Necklaces, earrings, pins of
                                                      non-precious metals, clocks and
                                                      watches in class 014

                                                      For: Children’s books, bumper
                                                      stickers, removable tattoos,
                                                      pressure sensitive decals,
                                                      checkbook covers, and playing
                                                      cards in class 016

                                                      For: Leather goods, namely, purses,
                                                      wallets, duffle bags, motorcycle
                                                      saddle bags, and key fobs in class
                                                      018

                                                      For: Mirrors in class 020

                                                      For: Mugs, drinking glasses,
                                                      coasters, decanters, cups, and
                                                      plastic mugs in class 021

                                                      For: Towels, and bed spreads in
                                                      class 024

                                                      For: Sweat pants, sweaters,
                                                      suspenders, scarves, bandanas,
                                                      leather clothing, namely, jackets,
                                                      vests, gloves, jeans, chaps, tops,
                                                      boots, shorts, caps, belts, and parts
                                                      of footwear, namely boot tips, in
                                                      class 025

                                                      For: Stuffed toy animals, toy banks,
                                                      and model kits in class 028

                                                      For: Cigarette cases, lighter cases,
                                                      and cigarette lighters in class 034




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1,511,060                                 Nov. 01, 1988   For: Clothing, namely, boots, sweat
                                                          shirts, jeans, hats, caps, scarves,
                                                          motorcycle riding suits, neck ties,
                                                          shirts, t-shirts, jackets, vest, ladies
                                                          tops, and bandanas in class 025



1,602,474     HARLEY-DAVIDSON             Jun. 19, 1990   For: Belt buckles in class 026


1,606,282     HARLEY-DAVIDSON             Jul. 17, 1990   For: Safety goggles, protective
                                                          helmets and sunglasses in class 009

1,621,383     HARLEY-DAVIDSON             Nov. 06, 1990   For: Model toy motorcycles,
                                                          miniature motorcycle replicas,
                                                          model toy trucks, and electronically
                                                          operated toy motorcycles in class
                                                          028

1,660,539                                 Oct. 15, 1991   For: Knives; namely, buck knives,
                                                          sporting and hunting knives,
                                                          folding pocket knives, knife cases
                                                          therefor, and tool kits comprising
                                                          wrenches and pliers in class 008

                                                          For: sunglasses, and motorcycle
                                                          parts; namely, gauges, batteries,
                                                          and cruise controls in class 009

                                                          For: Flashlights in class 011

                                                          For: motorcycles and motorcycle
                                                          parts; namely, air cleaners, drive
                                                          belts, belt guards, brakes, chains,
                                                          clutches, crankcases, engine
                                                          cylinders, fenders and fender
                                                          supports, footboards, forks, fuel
                                                          tanks, leg guards, handlebars,
                                                          cylinder heads, mirrors, oil filters,
                                                          oil pumps, seats, shock absorbers,
                                                          backrests, wheels, and windshields
                                                          in class 012


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                                                      For: Ankle bracelets, bracelets,
                                                      earrings, necklaces, rings, tie tacks,
                                                      watch bands, watches, wall clocks,
                                                      and ornamental lapel pins in class
                                                      014

                                                      For: Books about motorcycles,
                                                      calendars, decals, pens, photo
                                                      albums, posters, and removable
                                                      tattoos in class 016

                                                      For: Holders for cans in the nature
                                                      of a rubber cylinder, duffle bags,
                                                      garment bags, key fobs, suitcases,
                                                      and wallets in class 018

                                                      For: Wall mirrors and wall plaques
                                                      in class 020

                                                      For: Drinking glasses, mugs, and
                                                      can holders in the nature of an
                                                      insulated rubber cylinder in class
                                                      021

                                                      For: Towels in class 024

                                                      For: Belts, chaps, denim pants,
                                                      gloves, hats, caps, jackets, neckties,
                                                      night shirts, pants, rain suits, shirts,
                                                      socks, suspenders, sweaters,
                                                      sweatshirts, tank tops, athletic
                                                      shoes, shoes, boots, t-shirts,
                                                      underwear, vests and wristbands in
                                                      class 025

                                                      For: Belt buckles not made of
                                                      precious metal, boot chains, and
                                                      embroidered patches for clothing in
                                                      class 026

                                                      For: Automobile floor mats in class
                                                      027

                                                      For: Toy trucks in class 028

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                                                          For: Beer in class 032

                                                          For: Lighter holders, cigarette
                                                          cases, lighter cases, and lighters, all
                                                          of the foregoing not being made of
                                                          precious metal in class 034

1,683,455           HARLEY                Apr. 14, 1992   For: Shirts, tank tops, boots, and
                                                          sweatshirts in class 025

1,708,362           HARLEY                Aug. 18, 1992   For: Embroidered patches for
                                                          clothing in class 026

1,711,882                                 Sep. 01, 1992   For: Embroidered patches for
                                                          clothing in class 026




1,741,456                                 Dec. 22, 1992   For: Embroidered patches and belt
                                                          buckles not of precious metals in
                                                          class 026




1,793,137      HARLEY OWNERS              Sep. 14, 1993   For: Hunting knives, pocket knives
                   GROUP                                  and knife cases in class 008

                                                          For: Road atlases, newsletters,
                                                          magazines relating to motorcycling,
                                                          playing cards, and decals in class
                                                          016

                                                          For: Key fobs, luggage, tote bags,
                                                          and travel bags in class 018

                                                          For: Plastic and ornamental pins
                                                          and badges in class 020


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                                                           For: Glasses, mugs, cups, and
                                                           insulated can holders in class 021

                                                           For: Textile flags and banners in
                                                           class 024

                                                           For: Clothing, namely, shirts,
                                                           sweatshirts, t-shirts, caps, hats,
                                                           jacket, vests, and bandanas in class
                                                           025

                                                           For: Belt buckles and ornamental
                                                           patches in class 026

2,281,489                                  Sep. 28, 1999   For: Necklaces, bracelets, and
                                                           watch bands in class 014



2,376,674                                  Aug. 15, 2000   For: Metal locks in class 006

                                                           For: Motorcycle parts, namely,
                                                           spark plugs in class 007

                                                           For: Optical and safety equipment,
                                                           namely, sunglasses and motorcycle
                                                           helmets in class 009

                                                           For: Motorcycle parts, namely,
                                                           mirrors, drive belts made of rubber,
                                                           swing arm pivot covers, axle nut
                                                           covers, handgrips, oil pump covers,
                                                           air cleaner covers, derby covers,
                                                           caliper covers, seats, brake pedals,
                                                           motorcycle saddlebags, saddlebag
                                                           liners, timer covers and fender tips
                                                           in class 012

                                                           For: Jewelry in class 014

                                                           For: Leather goods, namely
                                                           traveling bags and saddlery in class
                                                           018

                                                           For: Leather gloves in class 025

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2,973,501                                  Jul. 19, 2005   For: Bandannas, jackets, shirts,
                                                           caps, hats, T-shirts, and leather
                                                           jackets in class 025




2,979,002                                  Jul. 26, 2005   For: Drinking glasses, mugs, and
                                                           beverage glassware in class 021




3,018,481                                  Nov. 22, 2005   For: Ornamental novelty pins in
                                                           class 026




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3,074,276                                  Mar. 28, 2006   For: Metal key chains in class 006




3,185,946                                  Dec. 19, 2006   For: Jackets, baseball hats, caps,
                                                           shirts and T-shirts in class 025




3,304,863                                  Oct. 02, 2007   For: Metal key fobs and non-
                                                           luminous and non-mechanical
                                                           metal signs in class 006




3,393,839                                  Mar. 11, 2008   For: House mark for a full line of
                                                           clothing, footwear and headwear in
                                                           class 025




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3,393,840                                  Mar. 11, 2008   For: House mark for a full line of
                                                           clothing, footwear and headwear in
                                                           class 025

3,447,304                                  Jun. 17, 2008   For: A full line of clothing in class
                                                           025




3,490,890                                  Aug. 26, 2008   For: House mark for a line of
                                                           motorcycles, structural parts for
                                                           motorcycles and related motorcycle
                                                           accessories, namely, seats,
                                                           backrests, decorative fuel tank
                                                           panels, transmission gears, fuel
                                                           tanks, wheel sprockets, gear shifts,
                                                           clutches, battery covers and straps,
                                                           front rear, and intermediate
                                                           kickstands, hub caps, shift knobs,
                                                           foot rests and extensions,
                                                           windshields, leg shields, fender
                                                           tips, brake pedals, handlebar grips,
                                                           safety guards, namely, bars for
                                                           attachment to motorcycles, steering
                                                           dampers, shock absorbers, spare
                                                           wheels, spare wheel carriers, boot
                                                           guards, namely, mud flaps and
                                                           fenders, saddle covers, luggage
                                                           carriers, license plate frames,
                                                           handlebar cross bars, foot pedal
                                                           pads, tank and fender pads,
                                                           rearview, fenders and skirts, and
                                                           wheel balance weights in class 012




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3,559,365                                  Jan. 13, 2009   For: House mark for a line of
                                                           motorcycles, structural parts for
                                                           motorcycles, and related
                                                           motorcycle accessories, namely,
                                                           seats, backrests, decorative fuel
                                                           tank panels, transmission gears,
                                                           fuel tanks, wheel sprockets, gear
                                                           shifts, clutches, battery covers and
                                                           straps, front , rear, and intermediate
                                                           kickstands, hub caps, shift knobs,
                                                           foot rests and extensions,
                                                           windshields, leg shields, fender
                                                           tips, brake pedals, handlebar grips,
                                                           safety guards, namely, bars for
                                                           attachment to motorcycles, steering
                                                           dampers, shock absorbers, spare
                                                           wheels, spare wheel carriers, boot
                                                           guards, namely, mud flaps and
                                                           fenders, saddle covers, luggage
                                                           carriers, license plate frames,
                                                           handlebar cross bars, foot pedal
                                                           pads, tank and fender pads,
                                                           rearview mirrors, fenders and
                                                           skirts, and wheel balance weights
                                                           in class 012

3,690,031                                  Sep. 29, 2009   For: Non-luminous, non-
                                                           mechanical tin signs, non-
                                                           luminous, non-mechanical metal
                                                           signs, tool boxes of metal, tool
                                                           chests of metal, key rings of metal,
                                                           and metal personal identification
                                                           tags in class 006




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3,697,874                                  Oct. 20, 2009   For: Motorcycles and structural
                                                           parts therefor in class 012




3,697,875                                  Oct. 20, 2009   For: Shirts, hats, caps in class 025




4,465,604                                  Jan. 14, 2014   For: Clothing, namely, shirts, hats,
                                                           caps, belts, jackets, gloves,
                                                           sweatshirts, lounge pants, and wrist
                                                           bands in class 025




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4,465,650                                  Jan. 14, 2014   For: Motorcycles and structural
                                                           parts therefor in class 012




4,487,292                                  Feb. 25, 2014   For: Motorcycles and structural
                                                           parts therefore in class 012




4,487,293                                  Feb. 25, 2014   For: Motorcycle modification and
                                                           customization; providing a web site
                                                           featuring information regarding
                                                           motorcycle customization services;
                                                           providing consultation services
                                                           regarding motorcycle
                                                           customization in class 037




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4,528,269                                  May 13, 2014    For: Jewelry, namely, earrings,
                                                           necklaces in class 014




4,601,391                                  Sep. 09, 2014   For: Cell phone covers in class 009




4,601,394                                  Sep. 09, 2014   For: Cell phone covers in class 009




4,771,442                                  Jul. 14, 2015   For: A full line of jewelry in class
                                                           014




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  4,844,360                                         Nov. 03, 2015    For: Parts of motorcycles,
                                                                     excluding parts of all motors and
                                                                     engines, namely, derby covers, air
                                                                     cleaner trim, timer covers, battery
                                                                     cover band, fuel caps, brake caliper
                                                                     inserts, fender skirts, console doors,
                                                                     head lamp visors, medallions, foot
                                                                     pegs, gearshift linkages, foot board
                                                                     covers, handlebar clamps, hand
                                                                     grips, fuel gauges, guard rail
                                                                     inserts, axle nut covers, breather
                                                                     end cap, valve stem caps, foot
                                                                     boards, turn signal visors, pivot
                                                                     bolt covers, tank panel, fender tip
                                                                     lens kit, console insert, air cleaner
                                                                     cover, decorative end caps, mirrors
                                                                     and mounting hardware for the
                                                                     aforesaid goods in class 012

  1,654,280                   HD                    Aug. 20, 1991    For: jewelry, namely lapel pins,
                                                                     earrings, necklaces and bracelets in
                                                                     class 014


       THIS COURT FURTHER FINDS that Defaulting Defendants are liable for willful

federal trademark infringement and counterfeiting (15 U.S.C. § 1114), false designation of origin

(15 U.S.C. § 1125(a)), and violation of the Illinois Uniform Deceptive Trade Practices Act (815

ILCS § 510, et seq.).

       IT IS HEREBY ORDERED that Plaintiff’s Motion for Entry of Default and Default

Judgment is GRANTED in its entirety, that Defaulting Defendants are deemed in default and

that this Final Judgment is entered against Defaulting Defendants.

       IT IS FURTHER ORDERED that:




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1.       Defaulting Defendants, their affiliates, officers, agents, servants, employees, attorneys,

         confederates, and all persons acting for, with, by, through, under, or in active concert

         with them be permanently enjoined and restrained from:

         a. using the HARLEY-DAVIDSON Trademarks or any reproductions, counterfeit

            copies or colorable imitations thereof in any manner in connection with the

            distribution, marketing, advertising, offering for sale, or sale of any product that is not

            a genuine Harley-Davidson Product or not authorized by Harley-Davidson to be sold

            in connection with the HARLEY-DAVIDSON Trademarks;

         b. passing off, inducing, or enabling others to sell or pass off any product as a genuine

            Harley-Davidson Product or any other product produced by Harley-Davidson, that is

            not Harley-Davidson’s or not produced under the authorization, control or

            supervision of Harley-Davidson and approved by Harley-Davidson for sale under the

            HARLEY-DAVIDSON Trademarks;

         c. committing any acts calculated to cause consumers to believe that Defaulting

            Defendants’ products are those sold under the authorization, control or supervision of

            Harley-Davidson, or are sponsored by, approved by, or otherwise connected with

            Harley-Davidson;

         d. further infringing the HARLEY-DAVIDSON Trademarks and damaging Harley-

            Davidson’s goodwill; and

         e. manufacturing, shipping, delivering, holding for sale, transferring or otherwise

            moving, storing, distributing, returning, or otherwise disposing of, in any manner,

            products or inventory not manufactured by or for Harley-Davidson, nor authorized by

            Harley-Davidson to be sold or offered for sale, and which bear any of Harley-



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            Davidson’s trademarks, including the HARLEY-DAVIDSON Trademarks, or any

            reproductions, counterfeit copies or colorable imitations thereof.

2.       The domain name registries for the Defendant Domain Names, including, but not limited

         to, VeriSign, Inc., Neustar, Inc., Afilias Limited, CentralNic, Nominet, and the Public

         Interest Registry, within three (3) business days of receipt of this Order, shall, at Harley-

         Davidson’s choosing:

         a. permanently transfer the Defendant Domain Names to Harley-Davidson’s control,

            including unlocking and changing the registrar of record for the Defendant Domain

            Names to a registrar of Harley-Davidson’s selection; or

         b. disable the Defendant Domain Names and make them inactive and untransferable.

3.       The domain name registrars, including, but not limited to, GoDaddy Operating Company,

         LLC (“GoDaddy”), Name.com, PDR LTD. d/b/a PublicDomainRegistry.com (“PDR”),

         and Namecheap Inc. (“Namecheap”), within three (3) business days of receipt of this

         Order, shall take any steps necessary to transfer the Defendant Domain Names to a

         registrar account of Harley-Davidson’s selection.

4.       Defaulting Defendants and any third party with actual notice of this Order who is

         providing services for any of the Defaulting Defendants, or in connection with any of

         Defaulting Defendants’ websites at the Defendant Domain Names or other websites

         operated by Defaulting Defendants, including, without limitation, any online marketplace

         platforms such as iOffer, eBay, AliExpress, and Alibaba, web hosts, sponsored search

         engine or ad-word providers, credit cards, banks, merchant account providers, third party

         processors and other payment processing service providers, Internet search engines such

         as Google, Bing, and Yahoo, and domain name registrars, including, but not limited to,



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         GoDaddy, Name.com, PDR, and Namecheap, (collectively, the “Third Party Providers”)

         shall within three (3) business days of receipt of this Order:

         a. disable and cease providing services being used by Defaulting Defendants, currently

            or in the future, to engage in the sale of goods using the HARLEY-DAVIDSON

            Trademarks;

         b. disable and cease displaying any advertisements used by or associated with

            Defaulting Defendants in connection with the sale of counterfeit and infringing goods

            using the HARLEY-DAVIDSON Trademarks; and

         c. take all steps necessary to prevent links to the Defendant Domain Names identified

            on Schedule A from displaying in search results, including, but not limited to,

            removing links to the Defendant Domain Names from any search index.

5.       Pursuant to 15 U.S.C. § 1117(c)(2), Harley-Davidson is awarded statutory damages from

         each of the Defaulting Defendants in the amount of two million dollars ($2,000,000) for

         willful use of counterfeit HARLEY-DAVIDSON Trademarks on products sold through at

         least the Defendant Internet Stores. The two million dollar ($2,000,000) award shall

         apply to each distinct Defaulting Defendant only once, even if they are listed under

         multiple different aliases in the Amended Complaint and Schedule A.

6.       PayPal, Inc. (“PayPal”) shall, within two (2) business days of receipt of this Order,

         permanently restrain and enjoin any China or Hong Kong based accounts connected to

         Defaulting Defendants, Defaulting Defendants’ Online Marketplace Accounts or

         Defaulting Defendants’ websites identified in Schedule A from transferring or disposing

         of any money or other of Defaulting Defendants’ assets.




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7.       All monies currently restrained in Defaulting Defendants’ financial accounts, including

         monies held by PayPal, are hereby released to Harley-Davidson as partial payment of the

         above-identified damages, and PayPal is ordered to release to Harley-Davidson the

         amounts from Defaulting Defendants’ PayPal accounts within ten (10) business days of

         receipt of this Order.

8.       Until Harley-Davidson has recovered full payment of monies owed to it by any

         Defaulting Defendant, Harley-Davidson shall have the ongoing authority to serve this

         Order on PayPal in the event that any new PayPal accounts controlled or operated by

         Defaulting Defendants are identified. Upon receipt of this Order, PayPal shall within two

         (2) business days:

         a. locate all accounts and funds connected to Defaulting Defendants, Defaulting

            Defendants’ Online Marketplace Accounts, or Defaulting Defendants’ websites,

            including, but not limited to, any PayPal accounts connected to the information listed

            in Schedule A hereto, the e-mail addresses identified in Exhibits 3 and 4 to the

            Declaration of Linda Heban, and any e-mail addresses provided for Defaulting

            Defendants by third parties;

         b. restrain and enjoin such accounts or funds that are China or Hong Kong based from

            transferring or disposing of any money or other of Defaulting Defendants’ assets; and

         c. release all monies restrained in Defaulting Defendants’ PayPal accounts to Harley-

            Davidson as partial payment of the above-identified damages within ten (10) business

            days of receipt of this Order.

9.       In the event that Harley-Davidson identifies any additional online marketplace accounts,

         domain names or financial accounts owned by Defaulting Defendants, Harley-Davidson



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       may send notice of any supplemental proceeding to Defaulting Defendants by e-mail at

       the e-mail addresses identified in Exhibits 3 and 4 to the Declaration of Linda Heban and

       any e-mail addresses provided for Defaulting Defendants by third parties.

10.    The ten thousand dollar ($10,000) surety bond posted by Harley-Davidson will remain in

       place pending resolution of the claims against the remaining defendant(s).

This Court, having determined that there is no just reason for delay, orders that this is a Final

Judgment against the Defaulting Defendants.


DATED: March 6, 2017

                                            ___________________________________
                                            John J. Tharp, Jr.
                                            United States District Judge




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                                           Schedule A
No.   Defendant Name / Alias                               No.   Defendant Name / Alias
  1   zhang ying                                             2   liu xuemei
  3   Ze Yu Wang                                             4   wu xian yong
  5   5hk3380                                                6   alldisc_net
  7   AL-ME                                                  8   Angelia Store
  9   Auto win                                              10   DISMISSED
 11   Beirut tin signs store                                12   bestflag
 13   Black night                                           14   bobosgirl jewelry Store
 15   DISMISSED                                             16   Cangnan Wonderful Label Craft Factory
 17   DISMISSED                                             18   Club fan flag Store
 19   COCOSOX                                               20   Design & Inspiration Trading Co., Ltd. Store
      Dongguan Changan YX Lead Top Metal
21    Factory                                              22    E-Point Studio
23    f1gpworld                                            24    fashion-king27
25    fjenn_0                                              26    flagsandhomedecos
27    Funny Life Store                                     28    gabrielle_1220
29    gogoelectronicworld                                  30    DISMISSED
31    gotoracing                                           32    Green's House
33    guoguang788                                          34    hai559675
35    hi-gaga                                              36    Huimei Store
37    joe_moto                                             38    Junde bandana
39    junzji7                                              40    LAWA Decoration
41    Lianjiang Global Shine Craft & Gift Co., Ltd.        42    made_in_china_dewey
43    Mengzicai Jewelry Store                              44    MI ZI Store
45    MoreCool Motor Store                                 46    DISMISSED
47    MS Decor Co.,Ltd                                     48    DISMISSED
49    nick100cn                                            50    no.78
51    Noizzy Auto Styling& Accessories                     52    oppateam
53    DISMISSED                                            54    Qingdao Ena flags
55    qqqueen1688                                          56    rublu_1
57    Share Love World                                     58    Shenzhen Huasuo Flag Co.,Ltd Store
59    SMT Gear                                             60    SUPER QUEEN JEWELRY
61    superbeam20                                          62    Waving Flag
63    We are 1787 Group                                    64    wholesaleshopping2010
65    wolf_251                                             66    xecelbay2015
67    xingkepower8899                                      68    xj store

                                                      24
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69 ying198900                                     70 Yiwu Cute Jewelry Co., Ltd.
71 Yiwu Topchums Textile Co., Ltd.                72 yushangyiauto_0
73 DISMISSED


No.   Defendant Marketplace URL                   No.   Defendant Marketplace URL
  1   ebay.com/usr/5hk3380                          2   ebay.com/usr/alldisc_net
  3   aliexpress.com/store/1796740                  4   aliexpress.com/store/719069
  5   aliexpress.com/store/1988359                  6   DISMISSED
  7   aliexpress.com/store/607066                   8   aliexpress.com/store/1959350
  9   aliexpress.com/store/1835286                 10   bobosgirl.aliexpress.com/store/1084520
 11   DISMISSED                                    12   wonderfull.en.alibaba.com
 13   DISMISSED                                    14   aliexpress.com/store/2413130

15    aliexpress.com/store/738757                 16    hwqueen0706.aliexpress.com/store/838254
17    yuxuangift.en.alibaba.com                   18    aliexpress.com/store/838071
19    ebay.com/usr/f1gpworld                      20    ebay.com/usr/fashion-king27
21    ebay.com/usr/fjenn_0                        22    ebay.com/usr/flagsandhomedecos
23    aliexpress.com/store/2468027                24    ebay.com/usr/gabrielle_1220
25    ebay.com/usr/gogoelectronicworld            26    DISMISSED
27    ebay.com/usr/gotoracing                     28    aliexpress.com/store/1333054
29    ebay.com/usr/guoguang788                    30    ebay.com/usr/hai559675
31    ebay.com/usr/hi-gaga                        32    aliexpress.com/store/2706004
33    ebay.com/usr/joe_moto                       34    aliexpress.com/store/2135092
35    ebay.com/usr/junzji7                        36    aliexpress.com/store/1863282
37    globalshine.en.alibaba.com                  38    ebay.com/usr/made_in_china_dewey
      mengzicai.aliexpress.com/store/
39    1190236?spm=2114.12010108.0.0.WZx9G6        40    aliexpress.com/store/1079935
41    aliexpress.com/store/2344334                42    DISMISSED
43    aliexpress.com/store/1195302                44    DISMISSED
45    ebay.com/usr/nick100cn                      46    ebay.com/usr/no.78

47    https://www.aliexpress.com/store/1872539    48    ebay.com/usr/oppateam
49    DISMISSED                                   50    aliexpress.com/store/2179160
51    ebay.com/usr/qqqueen1688                    52    ebay.com/usr/rublu_1
53    aliexpress.com/store/1522072                54    aliexpress.com/store/2469036
55    soman.aliexpress.com/store/1923462          56    aliexpress.com/store/332938
57    ebay.com/usr/superbeam20                    58    aliexpress.com/store/2031076
59    1787group.aliexpress.com/store/1983493      60    ebay.com/usr/wholesaleshopping2010
61    ebay.com/usr/wolf*251                       62    ebay.com/usr/xecelbay2015
63    ebay.com/usr/xingkepower8899                64    aliexpress.com/store/1989150
65    ebay.com/usr/ying198900                     66    aliexpress.com/store/1684217

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67 topchums.en.alibaba.com                   68 ebay.com/usr/yushangyiauto_0
69 DISMISSED


No. Defendant Domain Name                   No. Defendant Domain Name
  1 leathereur.com                            2 wvcancer.org
  3 steelharley.com                           4 stiftungerde.org




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